
47 So.3d 914 (2010)
REJUVENATE AMERICA, INC., and Farid A. Khavari, Appellant,
v.
7300 INVESTMENTS, LLC, Appellees.
No. 3D09-2289.
District Court of Appeal of Florida, Third District.
November 3, 2010.
Thomas J. Butler, for appellant.
Roth &amp; School and Jeffrey C. Roth, Coral Gables, for appellee.
Before WELLS, CORTIÑAS, and LAGOA, JJ.
WELLS, Judge.
Rejuvenate America, Inc. and Farid A. Khavari appeal a final judgment entered in favor of the appellee, 7300 Investment, LLC, following a bench trial. Finding that the final judgment is fully supported *915 by competent, substantial evidence, we affirm.
